                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
v.                                         ) Criminal Case No: 1:21-MJ-00035
                                           )
JENNY LOUISE CUDD,                         )
                                           )
                       Defendant.          )
__________________________________________)

      MOTION FOR COMPLIANCE WITH DUE PROCESS PROTECTIONS ACT

       Defendant moves for an order pursuant to the Due Process Protections Act and Rule 5 of

the Federal Rules of Criminal Procedure, as amended on October 21, 2020, to remind the

government of their prosecutorial obligation. The Due Process Protections Act and Rule 5 of the

Federal Rules of Criminal Procedure, as amended on October 21, 2020, stated that in “all

criminal proceedings, on the first scheduled court date when both prosecutor and defense

counsel are present, the judge shall issue an oral and written order to prosecution and defense

counsel that confirms the disclosure obligation of the prosecutor under Brady v. Maryland, 373

U.S. 83 (1963) and its progeny, and the possible consequences of violating such order under

applicable law.” (Emphasis added.)
         The Administrative Office of the US Courts issued a memorandum about the Statutory

Amendment to Criminal Rule 5 on October 26, 2020, stating that "all judges must immediately

comply with this new requirement, and judicial councils must draft and promulgate a model

order implementing this change as soon as practicable."

         In this matter, no such an order was issued when both the prosecutor and defense counsel

were present for an initial appearance on January 21, 2021, nor does it appear this order has been

issued through the date of this filing, 12 days following the initial appearance.

         The defense, therefore, moves for compliance with the Due Process Protections Act and

Rule 5 of the Federal Rules of Criminal Procedure, and requests an issuance of the required

order.



Date: February 2, 2021.



                                              Respectfully submitted,

                                              /s/

                                              Marina Medvin, Esq.
                                              Counsel for Defendant
                                              MEDVIN LAW PLC
                                              916 Prince Street
                                              Alexandria, Virginia 22314
                                              Tel: 888.886.4127
                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 2, 2021, I will electronically file the foregoing pleading
with the Clerk of the Court using the CM/ECF system, which will then send a notification of
such filing (NEF) to counsel for the United States, David Kent (USADC) at
david.kent@usdoj.gov.

                                              /s/

                                              Marina Medvin, Esq.
                                              Counsel for Defendant
